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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                              :
 TIBOR KISS,                                                  :
                                              Plaintiff,      :    17 Civ. 10029 (LGS)
                                                              :
                            -against-                         :         ORDER
                                                              :
 CLINTON GREEN NORTH, LLC et al.,                             :
                                              Defendants. :
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LORNA G. SCHOFIELD, District Judge:

          WHEREAS, counsel for Defendant Judy Painting Corp. requests a conference regarding

the date of the upcoming trial in this matter, citing concerns with witness travel to New York and

mandatory quarantines in light of the ongoing COVID-19 pandemic (Dkt. No. 271). Counsel for

Plaintiff opposes any adjustment of the trial date, noting that Defendant Judy Painting Corp. has

requested permission for two of its witnesses to appear remotely (Dkt. No. 273). It is hereby

          ORDERED that in light of the health risks posed by COVID-19, the parties’ witnesses

shall be permitted to testify via videoconferencing software if they so desire. It is further

          ORDERED that the parties shall meet and confer and shall: (1) by November 6, 2020,

file a joint letter describing the videoconferencing technology they intend to use for witness

testimony at trial (the “Videoconferencing Technology”), as well as a proposed plan regarding

the logistics of the Videoconferencing Technology; (2) by November 11, 2020, contact

Courtroom Deputy James Street at (212) 805-4553 to schedule a walkthrough of the

Videoconferencing Technology and (3) by November 17, 2020, conduct such walkthrough. It is

further

          ORDERED that the Final Pre-Trial Conference scheduled for November 19, 2020, will

be conducted using the Videoconferencing Technology, and by November 17, 2020, the parties
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shall file a letter setting forth the logistics of such conference. It is further

        ORDERED that the parties’ joint final pre-trial order shall specify which of the parties’

witnesses will appear in-person or via the Videoconferencing Technology.


Dated: November 2, 2020
       New York, New York
